Case 1:17-cr-00274-ALC Document 55 Filed 11/06/20 Page 1of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK
CASE NO. 17-CR-274

UNITED STATES OF AMERICA

V.

LIONEL MOORE

)
)
)

)
)

 

ORDER ON MOTION FOR
REDUCTION IN SENTENCE
UNDER 18 U.S.C. § 3582(c)(1)(A)

(COMPASSIONATE RELEASE)

Upon motion of of the defendant 0 the Director of the Bureau of Prisons for a reduction

in sentence pursuant to 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable factors set

forth in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the Sentencing

Commission to the extent they are relevant to whether a deduction is warranted (and, if so, the

amount of the reduction),

IT IS ORDERED that the motion is:

C] GRANTED

[] The defendant’s previously imposed sentence of imprisonment of is reduced to

 

C1 Time served:

> or

O The defendant is to remain in Bureau of Prisons custody until the

defendant’s residence can be verified or a release plan can be developed.

Additional custody shall not exceed days unless extended by the

Court, or

O An appropriate release plan is in place and the defendant shall be released

immediately.

USDC SDNY

DOCUMENT ELECTRONICALLY
FILED

DOC#:

DATE FILED: //7- 6-20

 
Case 1:17-cr-00274-ALC Document 55 Filed 11/06/20 Page 2 of 3

SUPERVISED RELEASE

C1 The defendant’s term of supervised release is unchanged.
OC) The defendant’s term of supervised release is changed from to
C] The defendant’s conditions of supervised release are unchanged.

U1 The defendant’s conditions of supervised release are modified as follows:

 

 

 

 

 

 

 

 

 

 

[] DEFERRED pending supplemental briefing and/or a hearing. The court DIRECTS the United

States Attorney to file a response on or before , along with all Bureau of

Prisons records [medical, institutional, administrative] supporting the approval or denial of this

hn
DENIED after complete review of the motion on the merits.

1 FACTORS CONSIDERED (Optional)

 

 

 

 
Case 1:17-cr-00274-ALC Document 55 Filed 11/06/20 Page 3 of 3

LC] DENIED WITHOUT PREJUDICE for failure to exhaust remedies (failure to fully

exhaust all administrative rights to appeal a failure of the Bureau of Prisons to bring a motion on
the defendant’s behalf; the lapse of 30 days from the receipt of such a request by the Warden,

whichever is earlier).

suemea mmo (rise. / Cn
October 9, 2020 2~

‘UNITED STATES DISTRICT JUDGE

 

 
